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                            UNITED STATES DISTRICT COURT
 7                         CENTRAL DISTRICT OF CALIFORNIA
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     SANTO REMEDIO, LLC dba DR.               Case No. 2:21-cv-03766-AB-PD
 9   JUAN’S SANTO REMEDIO, a
10   Florida limited liability company,
                                              ORDER GRANTING
11                 Plaintiff,                 PLAINTIFF’S EX PARTE
12                                            MOTION FOR EXPEDITED
            v.                                DISCOVERY AND RELATED
13                                            ORDERS
14   ONESHOT IP HOLDINGS, INC., a
     Nevada corporation;                      Date:     In Chambers
15   LIMITLESS PERFORMANCE INC.,              Time:     In Chambers
16   a California corporation;                Ctrm.:    7B
     EMBLAZE ONE INC., a Nevada               Before:   The Hon. André Birotte Jr.
17   corporation;
18   JASPREET MATHUR, an
     individual; and
19   JOHN DOES 1–50,
20
                   Defendants.
21
22          Before the Court is Plaintiff Santo Remedio, LLC dba Dr. Juan’s
23   Santo Remedio (“Plaintiff”)’s Ex Parte Motion for Expedited Discovery.
24          Having considered the moving papers, and good cause appearing, it
25   is hereby:
26          ORDERED that Plaintiff’s Motion is GRANTED.
27          IT IS HEREBY FURTHER ORDERED that Plaintiff may serve
28   subpoenas on Facebook, Inc.; Google LLC; Cloudflare, Inc.; NameCheap,
     Case No. 2:21-cv-03766-AB-PD               [PROP.] ORDER GRANTING PLAINTIFF’S EX
                                                PARTE MTN FOR EXPEDITED DISCOVERY
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